                                                               Case 1:20-cv-09224-VEC Document                15-7 Filed 12/11/20 Page 1 of 1
                                                                                       Chambers, Joseph ‐ Agreement History




Driver ID                              Date Accepted Agreements (UTC)   Reg Doc Title                                                             Reg Doc URL
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